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 7
                              IN THE UNITED STATES DISTRICT COURT
 8                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
 9
      TRIBUO PARTNERS LLC                                    Case No. 22-cv-02930-TLT
10
            Plaintiff,
11                                                           PLAINTIFF TRIBUO PARTNERS LLC’S
      vs.                                                    CERTIFICATE OF INTERSTED
12                                                           ENTITIES OR PERSONS
      WILSON SONSINI GOODRICH &
13    ROSATI, P.C. and JOSEPH MATTHEW
      LYONS,                                                 Jury Trial Demanded
14
            Defendants.                                      Courtroom: 9 – 19th Floor
15                                                           Judge: Hon. Trina L. Thompson
                                                             Complaint Filed: May 17, 2022
16                                                           FAC Filed:       June 13, 2022
                                                             SAC Filed:       September 14, 2022
17

18              Pursuant to Civil L.R. 3-15, the undersigned certifies that as of this date, other than the
19   named parties, there is no such interest to report.
20   DATED: October 14, 2022                  SBAITI & COMPANY PLLC
21
                                              By: /s/ Mazin A. Sbaiti
22                                               Mazin A. Sbaiti
                                                 Attorney for Tribuo Partners LLC
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     _____________________________________________________________________________________
28   PLAINTIFF TRIBUO PARTNERS LLC’S CERTIFICATE                CASE NO. 3:22-CV-02930-TLT
     OF INTERESTED ENTITIES OR PERSONS
